              18-22311-rdd             Doc 6          Filed 03/01/18 Entered 03/02/18 00:23:09                           Imaged
                                                      Certificate of Notice Pg 1 of 5
Information to identify the case:
Debtor 1              Craig S. Forster                                                      Social Security number or ITIN     xxx−xx−2737
                      First Name   Middle Name     Last Name                                EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                    Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                            EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Southern District of New York
                                                                                            Date case filed for chapter 7 2/26/18
Case number:          18−22311−rdd

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case                                                                                                       12/17




For the debtor(s) listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office and the office of the U.S. Trustee cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.      Debtor's full name                       Craig S. Forster

2.      All other names used in the
        last 8 years

3.     Address                               36 Overbrook Drive
                                             Millwood, NY 10546

4.     Debtor's attorney                     Dawn Kirby                                               Contact phone (914) 681−0200
                                             DelBello Donnellan Weingarten Wise & Wiederkehr,         Email: dkirby@ddw−law.com
       Name and address                      LLP
                                             One North Lexington Avenue
                                             White Plains, NY 10601

5.     Bankruptcy trustee                    Mark S. Tulis                                            Contact phone (914) 747−4400
                                             Tulis Wilkes Huff & Geiger LLP                           Email: mtulis.trustee@gmail.com
       Name and address                      220 White Plains Road
                                             2nd Floor
                                             Tarrytown, NY 10591
                                                                                                              For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case                                                 page 1
             18-22311-rdd              Doc 6         Filed 03/01/18 Entered 03/02/18 00:23:09                                            Imaged
                                                     Certificate of Notice Pg 2 of 5
Debtor Craig S. Forster                                                                                                        Case number 18−22311−rdd


6. Bankruptcy clerk's office                      300 Quarropas Street                                                Office Hours: Monday − Friday
                                                  White Plains, NY 10601                                              8:30 AM − 5:00 PM
    Documents in this case may be filed at this
    address. You may inspect all records filed    Clerk of the Bankruptcy Court:
    in this case at this office or online at                                                                          Contact phone 914−467−7250
    www.pacer.gov.                                Vito Genna                                                          Date: 2/27/18

7. Meeting of creditors                           April 5, 2018 at 09:30 AM                                           Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a later                United States Bankruptcy Court,
    questioned under oath. In a joint case,       date. If so, the date will be on the court docket. Debtor           SDNY, 300 Quarropas Street,
    both spouses must attend. Creditors may       should bring this notice to the first meeting of creditors,
    attend, but are not required to do so.        together with any other documents requested by the                  Room 243A, White Plains, NY
                                                  trustee.                                                            10601−5008
                                                  Cell phones are not permitted in the Courthouse
                                                  without an Attorney Secure Pass which can be
                                                  obtained at the U.S. District Court Clerk's Office.


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                         Filing deadline: 6/4/18
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                   • if you assert that the debtor is not entitled to receive a discharge of any debts under any
                                                     of the subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                     or
                                                  • if you want to have a debt excepted from discharge under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                                   Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as                 conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, other than claims secured by a security
                                                  interest in the principal residence, please do not file a proof of claim now. If it later appears that assets are
                                                  available to pay creditors, the clerk will send you another notice telling you that you may file a proof of
                                                  claim and stating the deadline.
                                                  Deadline for holder(s) of a claim secured by a security            Filing deadline: 70 days after the
                                                  interest in the principal residence pursuant to Rule               order for relief is entered.
                                                  3002(c)(7)(A):


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                  to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                  have any questions about your rights in this case.


12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                  distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                  the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                                  exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.


13. Debtors                                       Duty to complete Financial Management Course and File Certificate: The Personal Financial Management
                                                  Course must be completed and Official Form 423 (Certification About a Financial Management Course)
                                                  must be filed within 60 days after the first date set for your section 341(a) meeting, pursuant to Bankruptcy
                                                  Rule 1007(c). Please note: You will not receive your discharge and your case will be closed without entry
                                                  of a discharge, if you do not file the form within the required time allotted. If you fail to file the Certification
                                                  About a Financial Management Course and your case is closed, you will be required to file a Motion to
                                                  Reopen the Case to allow for filing of the Certification, paying required fees, if any become due,
                                                  applicable to either the reopening of the case or filing of the motion.
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                                                  Certificate of Notice Pg 3 of 5
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case             page 2
             18-22311-rdd       Doc 6    Filed 03/01/18 Entered 03/02/18 00:23:09              Imaged
                                         Certificate of Notice Pg 4 of 5
                                        United States Bankruptcy Court
                                        Southern District of New York
In re:                                                                                  Case No. 18-22311-rdd
Craig S. Forster                                                                        Chapter 7
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0208-7           User: juwalker               Page 1 of 2                   Date Rcvd: Feb 27, 2018
                               Form ID: 309A                Total Noticed: 64


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 01, 2018.
db             +Craig S. Forster,    36 Overbrook Drive,    Millwood, NY 10546-1033
tr             +Mark S. Tulis,    Tulis Wilkes Huff & Geiger LLP,     220 White Plains Road,     2nd Floor,
                 Tarrytown, NY 10591-5837
smg            +N.Y. State Unemployment Insurance Fund,     P.O. Box 551,     Albany, NY 12201-0551
smg            +United States Attorney’s Office,     Southern District of New York,
                 Attention: Tax & Bankruptcy Unit,     86 Chambers Street, Third Floor,      New York, NY 10007-1825
7295778        +ANDREW GARRETT,    C/OBARRY M. BORDETSKY,    570 LEXINGTON AVENUE, 24TH FL.,
                 NEW YORK, NY 10022-6837
7295779        +ANDREW GARRETT,    C/O BARRY M. BORDETSKY,    22 NORTH PARK PLACE, 2ND FL.,
                 MORRISTOWN, NJ 07960-3979
7295781        +ATLANTIC CREDIT & FINANCE,    FORSTER & GARBUS LLP,     60 MOTOR PARKWAY PO BOX 9030,
                 COMMACK, NY 11725-9030
7295782         BANK OF AMERICA,    BANKRUPTCY DEPARTMENT,    4161 TREDMONT PKWY NC4-1050314,
                 GREENSBORO, NC 27410
7295787        +CAPITAL ONE,    THE BUREAUS INC,    650 DUNDEE ROAD, STE 370,     NORTHBROOK, IL 60062-2757
7295786        +CAPITAL ONE,    ATTN: GENERAL /BANKRUPTCY,    P.O. BOX 3025,     NEW ALBANY, OH 43054-3025
7295788         CAREMOUNT MEDICAL PC,    P.O. BOX 65042,    BALTIMORE, MD 21264-5042
7295792        +CITIBANK-PORTFOLIO RECOVERY,     1000 TECHNOLOGY DRIVE,     O FALLON, MO 63368-2239
7295793        +COMPU-TAB SERVICES, INC.,    84 BUSINESS PARK DRIVE,     ARMONK, NY 10504-1742
7295794        +CORNELL WOODS HOMEOWNERS ASSOC,     C/O ROGER L ESPOSITO ESQ.,     399 KNOLLWOOD ROAD, STE 211,
                 WHITE PLAINS, NY 10603-1900
7295795         CREDIT PROTECTION ASSOC,    NEW YORK STATE ELECTRIC GAS,      P.O. BOX 802068,
                 BINGHAMTON, NY 13904
7295796        +DANA FORSTER NAVINS,    20 ORLANDO STREET,    ARDSLEY, NY 10502-1620
7295798        +DISCOVER FINANCIAL SERVICES,     SELIP & STYLIANOU, LLP,     199 CROSSWAYS PARK DRIVE,
                 WOODBURY, NY 11797-2016
7295800        +GOOD YEAR,   CITIBANK NA,    P.O. BOX 6497,    SIOUX FALLS, SD 57117-6497
7295801        +GOODYEAR-CITIBANK NA,    PORTFOLIO RECOVERY ASSOCIATES,      P.O. BOX 12914,
                 NORFOLK, VA 23541-0914
7295803        +MIKE PULITZER,    40 GRACE AVENUE,    GREAT NECK, NY 11021
7295804         MOUNT KISCO MEDICAL GROUP PC,     PO BOX 7247 6840,    PHILADELPHIA, PA 19170-0001
7295806        +NEW ROCHELLE ENDODONTICS,    CREDIT CENTER, LLC,     7 FINANCE DRIVE,    DANBURY, CT 06810-4162
7295805        +NEW ROCHELLE ENDODONTICS,    77 QUAKER RIDGE ROAD,     NEW ROCHELLE, NY 10804-2821
7295808         NYC DEPARTMENT OF FINANCE,    345 ADAMS STREET, 3RD FLOOR,      ATTN: LEGAL AFFAIRS DIVISION,
                 BROOKLYN, NY 11201-3719
7295812        +OPPENHEIMER & CO.,    3310 W. BIG BEAVER ROAD,     STE 205,    TROY, MI 48084-2807
7295814        +PROFESSIONAL ORTHOPEDIC,    552 AVENUE OF THE AMERICAS,      NEW YORK, NY 10011-2010
7295815        +PROFESSIONAL ORTHOPEDIC,    SMITH CARROAD LEVY & WAN PC,      P.O. BOX 49,    COMMACK, NY 11725-0049
7295817        +QUEST DIAGNOSTICS,    P.O. BOX 740709,    ATLANTA, GA 30374-0709
7295818        +RANDALL A. MOORE DMD,    351 MANVILLE ROAD,    PLEASANTVILLE, NY 10570-2166
7295819         ROBISON OIL,    500 EXECUTIVE BLVD.,    ELMSFORD, NY 10523-1236
7295820        +SCARSDALE GOLF CLUB,    CLUB WAY,    P.O. BOX 701,    HARTSDALE, NY 10530-0701
7295821         SECURITY EXCHANGE COMM,    THE WOOLWORTH BUILDING,     233 BROADWAY- JOHN MURRAY,
                 NEW YORK, NY 10279
7295822       #+SHER TREMONTE LLP,    80 BROAD STREET, SUITE 1301,     NEW YORK, NY 10004-2282
7295823        +STIFEL NICOLAUS & COMPANY INC.,     C/O ORRICLE HERRINGTON & SUTCL,     51 W. 52ND STREET,
                 NEW YORK, NY 10019-6119
7295824        +SUNOCO INC-CITIBANK CITICORP,     ATTN BANKRUPTCY-PO. BOX 790040,     SAINT LOUIS, MO 63179-0040
7295826         SYNCHRONY BANK,    PORTFOLIO RECOVERY,    P.O. BOX 411067,     NORFOLK, VA 23541
7295827        +UNITED STATES ATTORNEY,    ONE ST. ANDREW’S PLAZA,     CLAIMS UNIT-ROOM 417,
                 NEW YORK, NY 10007-1701
7295830        +USAA SAVINGS BANK,    CLIENT SERVICES, INC.,    3451 HARRY S. TRUMAN BLVD,
                 SAINT CHARLES, MO 63301-9816
7295833        +WESTCHESTER HEALTH,    C/O EASTERN ACCOUNT SYSTEM INC,      PO BOX 837,    NEWTOWN, CT 06470-0837

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: dkirby@ddw-law.com Feb 27 2018 19:41:09      Dawn Kirby,
                 DelBello Donnellan Weingarten Wise & Wie,   One North Lexington Avenue,
                 White Plains, NY 10601
smg             E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Feb 27 2018 19:41:36
                 New York State Tax Commission,   Bankruptcy/Special Procedures Section,     P.O. Box 5300,
                 Albany, NY 12205-0300
ust            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Feb 27 2018 19:41:15       United States Trustee,
                 Office of the United States Trustee,   U.S. Federal Office Building,
                 201 Varick Street, Room 1006,   New York, NY 10014-9449
7295776        +EDI: GMACFS.COM Feb 28 2018 00:58:00     ALLY FINANCIAL,    ATTN: BANKRUPTCY,    P.O. BOX 380901,
                 MINNEAPOLIS, MN 55438-0901
7295777        +EDI: AMEREXPR.COM Feb 28 2018 00:58:00     AMERICAN EXPRESS,    GLOBAL COLLECTION STRATEGY,
                 200 VESEY STREET,   NEW YORK, NY 10285-1000
7295780        +E-mail/Text: ACF-EBN@acf-inc.com Feb 27 2018 19:41:12      ATLANTIC CREDIT & FINANCE,
                 SPECIAL FINANCE UNIT APO CITI,    3353 ORANGE AVENUE NE,    ROANOKE, VA 24012-6335
7295783        +EDI: BANKAMER.COM Feb 28 2018 00:58:00     BANK OF AMERICA,    P.O. BOX 21846,
                 GREENSBORO, NC 27420-1846
                18-22311-rdd           Doc 6     Filed 03/01/18 Entered 03/02/18 00:23:09                          Imaged
                                                 Certificate of Notice Pg 5 of 5


District/off: 0208-7                  User: juwalker                     Page 2 of 2                          Date Rcvd: Feb 27, 2018
                                      Form ID: 309A                      Total Noticed: 64


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
7295784         EDI: BMW.COM Feb 28 2018 00:58:00      BMW FINANCIAL SERVICES,    ATTN: BANKRUPTCY DEPT.,
                 P.O. BOX 3608,   DUBLIN, OH 43016
7295785        +EDI: CAPITALONE.COM Feb 28 2018 00:58:00      CAPITAL ONE,    P.O. BOX 71083,
                 CHARLOTTE, NC 28272-1083
7295789        +EDI: CHASE.COM Feb 28 2018 00:58:00      CHASE CARD,    P.O. BOX 15298,
                 WILMINGTON, DE 19850-5298
7295790        +EDI: CITICORP.COM Feb 28 2018 00:58:00      CITIBANK NA,    P.O. BOX 769006,
                 SAN ANTONIO, TX 78245-9006
7295791        +EDI: CITICORP.COM Feb 28 2018 00:58:00      CITIBANK, N.A.,    701 EAST 60TH STREET NORTH,
                 SIOUX FALLS, SD 57104-0493
7295797        +EDI: DISCOVER.COM Feb 28 2018 00:58:00      DISCOVER FINANCIAL SERVICES,     P.O. BOX 3025,
                 NEW ALBANY, OH 43054-3025
7295802         EDI: IRS.COM Feb 28 2018 00:58:00      INTERNAL REVENUE SERVICE,    PO BOX 7346,
                 PHILADELPHIA, PA 19101-7346
7295807        +E-mail/Text: callcenter_bteam@nyseg.com Feb 27 2018 19:41:29       NEW YORK STATE ELECTRIC GAS,
                 18 LINK DRIVE,   BINGHAMTON, NY 13904-3222
7295809         E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Feb 27 2018 19:41:35       NYS DEPAT. OF TAX & FINANCE,
                 BANKRUPTCY SPECIAL PROCEDURES,    P.O. BOX 5300,    ALBANY, NY 12205-0300
7295810        +E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Feb 27 2018 19:41:35       NYS DEPT OF TAX & FINANCE,
                 BANKRUPTCY SPECIAL PROCUDRES,    15 METRO TECH CENTER, 5TH FL.,    BROOKLYN, NY 11201-3826
7295811        +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Feb 27 2018 19:41:15       OFFICE OF THE U.S. TRUSTEE,
                 US FEDERAL OFFICE BUILDING,    201 VARICK STREET, STE 1006,    NEW YORK, NY 10014-9449
7295813         EDI: PRA.COM Feb 28 2018 00:58:00      PORTFOLIO RECOVERY,    P.O. BOX 41067,    NORFOLK, VA 23541
7295816        +EDI: CCS.COM Feb 28 2018 00:58:00      QUEST DIAGNOSTICS,    C/O CREDIT COLLECTION SERVICES,
                 TWO WELLS AVENUE DEPT 587,    NEWTON CENTER, MA 02459-3225
7295825         EDI: RMSC.COM Feb 28 2018 00:58:00      SYNCHRONY BANK,    P.O. BOX 965013,
                 ORLANDO, FL 32896-5013
7295828        +EDI: USBANKARS.COM Feb 28 2018 00:53:00      US BANK HOME MORTGAGE,     4801 FREDERICA STREET,
                 OWENSBORO, KY 42301-7441
7295829        +EDI: USAA.COM Feb 28 2018 00:58:00      USAA SAVINGS BANK,    ATTN: BANKRUPTCY,
                 10750 MCDERMOTT FREEWAY,    SAN ANTONIO, TX 78288-1600
7295831        +EDI: VERIZONWIRE.COM Feb 28 2018 00:58:00      VERIZON WIRELESS,    BANKRUPTCY DEPARTMENT,
                 P.O. BOX 3397,   BLOOMINGTON, IL 61702-3397
7295832         EDI: VERIZONCOMB.COM Feb 28 2018 00:58:00      VERIZON WIRELESS,    AFNI, INC.,    P.O. BOX 3517,
                 BLOOMINGTON, IL 61702-3517
                                                                                               TOTAL: 25

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
7295799           GETTSBURGH REAL ESTATE
                                                                                                                    TOTALS: 1, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 01, 2018                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 27, 2018 at the address(es) listed below:
              Dawn Kirby    on behalf of Debtor Craig S. Forster dkirby@ddw-law.com,
               btepper@ddw-law.com;dap@ddw-law.com
              Mark S. Tulis   mtulis.trustee@gmail.com, NY47@ecfcbis.com;ppucci@tuliswilkeslaw.com
              United States Trustee   USTPRegion02.NYECF@USDOJ.GOV
                                                                                            TOTAL: 3
